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                                                           Thursday, 05 March, 2020 02:18:31 PM
                                                                   Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                            URBANA DIVISION

MID CENTRAL OPERATING                        )
ENGINEERS HEALTH AND                         )
WELFARE FUND,                                )
              Plaintiffs,                    )
                                             )
            vs.                              )      CASE NO.: 20-
                                             )
COMPLETE CONVEYING                           )
SERVICES, LLC,                               )
                                             )
                   Defendant.                )

                                 COMPLAINT

      NOW COMES the Plaintiff, Mid Central Operating Engineers Health and

Welfare Fund, by its attorney, David W. Stuckel, and for its complaint against the

Defendant, Complete Conveying Services, LLC, states as follows:

      1.    This action arises under the laws of the United States and is brought

pursuant to the Employee Retirement Income Security Act of 1974, (“ERISA”) as

amended, 29 USC Section 1132 (e)(1) and (2) and 1145, and Section 301 (a) of the

Labor Management Relations Act (“LMRA”) of 1947 as amended, 29 USC 185 (a), and

28 USC Section 1331.

      2.    Venue is proper in this Division of this District pursuant to Section 502

(e)(2) of ERISA, 29 USC 1132 (e)(2) and 28 USC1391 (a) and (b) because Defendant

performs work within the Urbana Division.

      3.    Defendant is obligated to make contributions to the Plaintiff under the

terms of a certain agreement and declaration of trust establishing and outlining the
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administration of the Fund and pursuant to the terms of a collective bargaining

agreement adopting the agreement and declaration of trust entered into by Defendant

with International Union of Operating Engineers Local 103 which has been

continuously in effect from June 1, 2015, to the present. (Ex. 1)

      4.    Central Pension Fund of the International Union of Operating Engineers

and Participating Employers is an employee pension benefit plan under ERISA.

Central Pension Fund has entered into an agreement with Mid Central Operating

Engineers Health and Welfare Fund under which Mid Central is authorized to collect

all amounts due to Central Pension Fund for work within the territorial area covered

by Mid Central Operating Engineers Health and Welfare Fund.

      5.         Defendant is obligated to make contributions to Mid Central Operating

Engineers Health and Welfare Fund and Central Pension Fund of the International

Union of Operating Engineers and Participating Employers under the terms of the

agreements and declarations of trust establishing and outlining the administration of

each Fund and, further, pursuant to the terms of a Collective Bargaining Agreement

entered into by Defendant which sets forth the rate of contribution of each of the

foregoing Funds and other Funds for which Mid Central Operating Engineers Health

and Welfare Fund acts as the agent for collection.

      6.     As an employer obligated to make contributions to the Fund in accordance

with its Collective Bargaining Agreement(s). Defendant is specifically required to do

the following:


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             a.    To submit to Plaintiff for each month, by the fifteenth (15th)
      day of the month following the month for which the report is made, a
      report stating the names, social security numbers and total hours worked
      in such month by each and every person on whose behalf contributions
      are required to be made by Defendant to Plaintiff, or, if no such persons
      are employed for a given month, to submit a report so stating;

             b.     To remit with the report payment of contributions based
                    upon an hourly rate as stated in the applicable collective
                    bargaining agreement signed by Defendant;

             c.     To make all of its payroll books, records, tax and
                    unemployment reporting forms, and other applicable
                    records available to Plaintiff for the purpose of auditing
                    same to determine whether Defendant is making full
                    payment as required under the applicable agreements;

             d.     To compensate Plaintiff by way of liquidated damages the
                    amount of fifteen percent (15%) of any and all contributions
                    which are not timely received by Plaintiff for each moth in
                    which contributions are due, as specified fully in paragraph
                    3a. above, together with interest at the rate of 9% per
                    annum from the date said contribution was due until the
                    date paid;

             e.     To pay any and all costs incurred by Plaintiff in auditing
                    Defendant’s records, should it be determined that Defendant
                    was delinquent in the reporting or submission of all
                    contributions required of it to be made to Plaintiff;

             f.     To pay Plaintiff’s reasonable attorney’s fees and costs
                    necessarily incurred in the prosecution of any action to
                    require Defendant to submit records for audit or to recover
                    delinquent contributions; and

      7.     Defendant is delinquent and has breached its obligations to the Fund in

the following respects:

             a.     Defendant has failed or refused to submit all of its reports
                    to Plaintiff due, to date, and/or has failed to make payments



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                   of all contributions acknowledged by Defendant therein to
                   be due Plaintiff;

             b.    Defendant had made payment of contributions due Plaintiff
                   but such payment was made in an untimely fashion under
                   the terms of the collective bargaining agreement. Plaintiff
                   has assessed liquidated damages and accrued interest
                   against the Defendant as authorized by the trust agreement
                   and ERISA, but Defendant has failed and refused to make
                   payment of said liquidated damages and accrued interest;

      8.     Upon careful review of all records maintained by Plaintiff

and after application of any and all partial payments made by Defendant, the total

sum of $9,108.44 is due from Defendant to Plaintiff itemized as follows (Ex. 2):

             a.    $7,799.29 in unpaid contributions for the period of October and
                   November 2019;

             b.    $1,111.43 in liquidated damages on unpaid contributions for the
                   periods of October and November 2019;

             c.    $197.73 in interest on unpaid contributions through March 4,
                   2020, at the rate of 9% per annum;

WHEREFORE, Plaintiffs pray:

      A.     That judgment be entered in favor of Plaintiff and against Defendant

in the total sum of $9,108.44; and

      B.     That Plaintiff be allowed its reasonable attorney’s fees and court costs

necessarily incurred in this action as specified herein, or as subsequently

determined, all as provided for in the Plan and in ERISA; and


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      C.     The Plaintiff have such other and further relief as may be deemed just

and equitable by the Court, all at Defendant’s cost.



                                       Respectfully Submitted,

                                       Mid Central Operating Engineers Health
                                       and Welfare Fund, Plaintiff.


                                       BY:      s/ David W. Stuckel
                                               DAVID W. STUCKEL




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